
*778OPINION.
Littleton :
The parties have stipulated the foregoing facts, as well as that the only issue in controversy is whether the $5,000 deposited in 1919 constituted a deduction for 1920 under the provisions of section 234 (a) 10 (a) of the Revenue Act of 1918 which provides that, in addition to deductions allowable to other corporations, there shall be allowed in the case of insurance companies:
The net addition required by law to be made within the taxable year to reserve funds (including in the case of assessment insurance companies the actual deposit of sums with State or Territorial officers pursuant to law as additions to guarantee or reserve funds).
Since the amount here in question was deposited in 1919, and not in the year involved in this proceeding, the Board finds no reason under the above provision, or under any other provision, of the Revenue Act of 1918, for allowing this amount as deduction from gross income for 1920.

Judgment will be entered for the respondent.

